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                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                    CASE NO.: -----------------
                                                                      25CR14007 ROSENBERG/MAYNARD

v.
                                                            CERTIFICATE OF TRIAL ATTORNEY
JAVIER ARMENTA-MAGANA
_________________
       Defendant.
                  /                                         Superseding Case Information:
                                                            New Defendant(s) (Yes or No) __
Court Division (select one)                                 Number of New Defendants --
          □
      Miami               □
                     Key West              E]FTP            Total number of new counts ---
      FTL □          WPB  □
I do hereby certify that:
   1.   I have carefully considered the allegations of the Indictment, the number of defendants, the number of probable
        witnesses and the legal complexities of the Indictment/Information attached hereto.
  2.    I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
        their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, 28 U.S.C. §3161.

     3.       Interpreter: (Yes or No) Yes
                                                _ 1i_ sh
              List language and/or dialect:_S pa1      _ _____

     4.       This case will take 3 days for the parties to try.
     5.       Please check appropriate category and type of offense listed below:
              (Check only one)                     (Check only one)
              I 0 0 to 5 days                    □ Petty
              II D 6 to 10 days                  □ Minor
              III D 11 to 20 days               D  Misdemeanor
              IV D 21 to 60 days                 □ Felony
              V D 61 days and over

     6.       Has this case been previously filed in this District Court?(Yes or No) N---'-o _
              If yes, Judge ___________ Case No. __________________
     7.       Has a complaint been filed in this matter?(Yes or No) Yes
              If yes, Judge Shaniek Mills Maynard                                           M _J-_
                                                                     Magistrate Case No._2s_-_      01_
                                                                                                   0_0     M
                                                                                                       _ 1_-_ SM
                                                                                                               _ _________
     8.       Does this case relate to a previously filed matter in this District Court?(Yes or No) :t:!2._
              If yes, Judge ___________ Case No.__________________
     9.       Defendant(s) in federal custody as of 2_ /-"1-"1"--/2-'0_2-'-5____________________
     10.      Defendant(s) in state custody as of ________________________ _
     11.      Rule 20 from the _____District of ______ _
     12.      Is this a potential death penalty case?(Yes or No) N__ o_
     13.      Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
              prior to October 3, 2019 (Mag. Judge Jared M. Strauss)?(Yes or No) N             _ _ o_
     14.      Did this matter involve the participation of or consultation with Magistrate Judge Eduardo I. Sanchez
              during his tenure at the U.S. Attorney's Office, which concluded on January 22, 2023?N_o_
     15.      Did this matter involve the participation of or consultation with Magistrate Judge Ma1ty Fulgueira
              Elfenbein during her tenure at the U.S. Attorney's Office, which concluded on March 5, 2024?N__ o_
     16.      Did this matter involve the paiticipation of or consultation with Magistrate Judge Ellen F. D'Angelo
              during her tenure at the U.S. Attorney's Office, which concluded on October 7, 2024?:t:!2._



                                                            By:JES�
                                                               Assistant United States Attorney
                                                               FL Bar No.            52716
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